UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

CLARENCE FOUST, individually and on
behalf of all others similarly situated,

Plaintiff,
CASE NO:

JURY DEMAND

)
)
)
)
)
v. )
)
COMCAST CORPORATION, ! )
)

Defendant, )

)

PETITION FOR REMOVAL

Defendant Comcast Corporation (“Comcast”) hereby gives this Court notice of removal
of the above-titled action now pending as Case No. 3-103-19 in the Circuit Court of Knox
County, Tennessee. In support of this Notice of Removal, Comcast states as follows:

1. On March 25, 2019, Plaintiff Clarence Foust (“Foust”) filed an action against
Comcast in the Circuit Court of Knox County, Tennessee, on behalf of himself and all others
similarly situated, styled as Clarence Foust v. Comcast Corporation, No. 3-103-19 (the “State
Court Action”).

2. Foust served Comcast with the summons, the complaint, and initial discovery
requests in the State Court Action on April 15, 2019. A copy of the summons, complaint, and
initial discovery requests served on Comcast in the State Court Action are attached to this Notice

of Removal as Exhibit 2. No other process, pleadings, or orders have been served on Comcast in

 

' Comcast Corporation does not waive its argument that Comcast Cable Communications, LLC,
is the proper defendant in this action. Comcast Corporation is a holding company, not an
operating company, and is therefore not invoived in the day-to-day management of its operating
subsidiaries, including Comcast Cable Communications, LLC.

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the State Court Action.

3. Comcast now removes the State Court Action to the United States District Court
for the Eastern District of Tennessee at Knoxville, which embraces the Circuit Court of Knox
County, Tennessee, where the State Court Action is pending. See 28 U.S.C. § 1441(a). A civil
cover sheet is attached hereto as Exhibit 1.

4, Removal! of the State Court Action to this Court is proper under 28 U.S.C.
§ 1441(a) and 28 U.S.C. § 1331 because the complaint asserts two causes of action under the
Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seqg., a law of the United
States over which this Court has original jurisdiction. See Mims v. Arrow Fin. Services, LLC,
565 U.S. 368, 386 (2012) (holding that district courts have federal question jurisdiction over
TCPA claims).

5. This Petition for Removal is timely under 28 U.S.C. § 1446(b) because it is filed
within thirty days after Comcast was served with a copy of the complaint, which was the initial
pleading setting forth the claims for relief upon which the State Court Action is based.

6. Comeast will give prompt written notice of the filing of this Removal to counsel
for Foust and will file a copy of the Petition for Removal with the Clerk of the Circuit Court of
Knox County. See 28 U.S.C. § 1446(d). Attached as Exhibit 3 is the notice of removal filed
contemporaneously with this Petition for Removal with the Clerk of the Circuit Court of Knox

County.

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Dated: May!?, 2019 Respectfully submitted,

Comcast Corporation

One of its attorneys :

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-and-

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CERTIFICATE OF SERVICE

I hereby certify that on the both day of May, 2019, the foregoing NOTICE OF
REMOVAL was delivered to all counsel for parties at interest in this cause by placing a true and
correct copy of the same in the United States mail, postage prepaid, in a properly addressed
envelope as follows, and by electronic mail, to the following:

Benjamin J. Miller

THE HIGGINS FIRM

525 4th Ave S

Nashville, TN 37210
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Wir fpfer~z

William R. Johnson’

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